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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                        MINUTES OF PROCEEDINGS


NEWARK                                                         Date: 12/2/16

JUDGE: Madeline Cox Arleo

COURT REPORTER: Charles McGuire

DEPUTY CLERK: Amy Andersonn

Title of Case:                                          Docket No. 16-cr-557(MCA)

U.S.A. v. NARENDRA SINGH PLAHA

Appearances:

Dennis C. Carletta, AUSA, for the Government
Eric Breslin, Esq., for defendant


Nature of proceedings: PLEA TO AN INFORMATION

Ordered defendant sworn.
Deft. advised of rights.
Defendant pled guilty to a One Count Information.
Waiver of Indictment executed and filed.
Information filed.
Rule 11 form filed.
Plea Agreement filed.
ORDERED sentence date set for 3/14/2017 at 12:00 p.m.
ORDERED continued bail.

Time Commenced 11:45 a.m.
Time Adjourned 12:15 p.m.

                                                                  Amy Andersonn
                                                                  Deputy Clerk
